       Case 21-11319-amc                     Doc       Filed 04/17/24 Entered 04/17/24 08:47:11                                   Desc Main
   Fill in this information to identify the case:
                                                       Document      Page 1 of 8
Fill in this information to identify the case:
Debtor 1      Stephanie T Fryer
Debtor 2                                                                                  (Spouse, if filing)
Debtor 3

United States Bankruptcy Court for the:EASTERNDistrict of PA
                                                                           (State)

Case number     2111319




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                12/15

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to 11.
U.S.C. § 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: PNC BANK, N A                                                        Court claim no. (if known): 5



 Last 4 digits of any number you use to
identify the debtor’s account:          3                      1       4      0                 Date of payment change:
                                                                                                Must be at least 21 days after date
                                                                                                                                          06__/01__/2024_
                                                                                                of this notice.

                                                                                                New total payment:
                                                                                                Principal, interest, and escrow, if any   $ 1,449.77___

 Part 1:      Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why___________________________________________________


                Current escrow payment: $577.98                    New escrow payment:                              $ 685.31


 Part 2:      Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's
      variable-rate note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why: _____________________________________________________________


                Current interest rate:                             %                  New interest rate:                                  %

                Current principal and interest payment: $                            New principal and interest payment: $


 Part 3:      Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              (Court approval may be required before the payment change can take effect.)

                Reason for change: __________________________________________________________________________________

                Current mortgage payment: $                                           New mortgage payment: $
         Case 21-11319-amc                   Doc          Filed 04/17/24 Entered 04/17/24 08:47:11                    Desc Main
                                                          Document      Page 2 of 8




Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.




     X /s/ Lucy Miller                                                                 Date       04 / 17        / 2024
   Signature




Print:           Lucy_______________ ____________ Miller____________ Title               Bankruptcy Specialist
                 First Name                 Middle Name        Last Name




Company           PNC Bank, N.A.


Address           3232 Newmark Drive
                 Number            Street


                    Miamisburg                                OH           45342
                 City                                          State        ZIP Code



Contact phone    ( 866 ) 754 – 0659                   Email Bankruptcy.administration.internal@pnc.com
                                               REPRESENTATION OF PRINTED DOCUMENT
            Case 21-11319-amc                  Doc        Filed 04/17/24 Entered 04/17/24 08:47:11                               Desc Main
                                                          Document      Page 3 of 8




                                                                                                LOAN NUMBER:
                                                                                                   PREPARED: April 08, 2024

           STEPHANIE T FRYER
           116 LINCOLN AVE
           YEADON PA 19050-2933
                                                                                               CUSTOMER SERVICE 1-800-822-5626

                                                                                                  pnc.com/mortgagecustomercare


                                                            Your Escrow Summary
Real Estate Settlement Procedures Act (RESPA) guidelines require us to provide you with an Annual Escrow Analysis Statement which includes all of
your escrow disbursements from the previous year, as well as your estimated escrow disbursements for the upcoming year. All of the information that is
provided on your enclosed annual escrow analysis statement is regulated by RESPA and cannot be changed. In an effort to simplify the escrow account
information and monthly payment information that is calculated on the original document, we have also included this summary which will provide you with
a quick snapshot of your actual escrow analysis statement. Please note that increases or decreases in your property taxes and/or insurance premiums will
result in a change in your monthly payment amount, and may result in an escrow shortage or surplus.



                                                      New Monthly Payment                               Current Monthly Payment

Payment Effective Date                                           June, 2024                                          June, 2023
Payment Amount                                                    $1,449.77                                           $1,299.95

Monthly Payment Breakdown                             New Monthly Payment                               Current Monthly Payment

Principal & Interest                                                $764.46                                             $764.46
Escrow Items                                                        $592.18                                             $522.33
Escrow Surplus/Shortage Amount                                       $93.13                                              $13.16
Total Monthly Payment                                             $1,449.77                                           $1,299.95

Monthly Escrow Collection Amount                      New Monthly Collection Amount                     Current Monthly Collection Amount

Monthly Tax Amount                                                  $418.18                                             $381.50
Monthly Insurance Amount                                            $174.00                                             $140.83
Monthly MIP/PMI Amount                                                $0.00                                               $0.00
Monthly Surplus/Shortage Amount                                      $93.13                                              $13.16
Total Monthly Escrow Amount                                         $685.31                                             $535.49

Annual Escrow Collection Amount                       New Annual Collection Amount                      Current Annual Collection Amount

Annual Tax Amount                                                 $5,018.15                                           $4,577.96
Annual Insurance Amount                                           $2,088.00                                           $1,690.00
Annual MIP/PMI Amount                                                 $0.00                                               $0.00
Total Annual Escrow Collection Amount                             $7,106.15                                           $6,267.96




   Please see reverse for more information and Frequently Asked Questions about escrow
   analysis.
           Case 21-11319-amc                     Doc         Filed 04/17/24 Entered 04/17/24 08:47:11   Desc Main
                                                             Document      Page 4 of 8
                                                 Frequently Asked Questions
Why did my payment change?
  An increase or decrease in your payment may be a result of an increase or decrease in your
  property taxes and / or insurance premiums and may result in an escrow shortage or surplus.
  An increase or decrease in your taxes may be due to a property reassessment, a change in the
  tax rate, a change in an exemption or a special assessment. An increase or decrease in your
  hazard insurance premium may be caused by a change in / or amount of your insurance
  coverage, or an increase in your insurance rate.

Can my mortgage company provide me with information concerning why there were changes in my tax
payments, special assessments, or insurance premiums?
   We apologize but your mortgage company does not have information as to why your taxes
   insurance or special assessments have changed. Please contact your local tax office or your
   insurance agent for further assistance.

What should I do if I receive a tax bill?
  If you have an escrow account for taxes and the bill is for the current taxes due, we will obtain
  the tax bills from the tax collector. If you have an escrow account for taxes and the tax bill is
  for delinquent taxes due, please call us at 1-800-822-5626. If it is necessary to send a copy of your
  tax bill to us, please include your loan number and forward it to:
                                                          PNC   Bank
                                                          PNC Bank
                                                          Attn:
                                                          Attn: Tax
                                                                 Tax Department-B6-YM13-01-7
                                                                     Department-B6-YM13-01-7
                                                          P.O.  Box  1804
                                                          P.O. Box 1804
                                                          Dayton,
                                                          Dayton, OH
                                                                   OH 45401-1804
                                                                        45401-1804

    •     PA, CA, VA, MD, NJ, ID, IA, ME, and CT Customers: Supplemental or special / additional
          assessment tax is not escrowed. You will be responsible for paying these bills.

What should I do if I receive an insurance renewal notice and a bill requesting payment?
  If you have an escrow account for insurance, please forward a copy of your bill with your loan
  number to:
                                  PNC Bank,
                                  PNC  Bank, National
                                               NA     Association
                                  ISAOA ATIMA
                                  ISAOA   ATIMA
                                  P.O. Box 7433
                                  P.O. Box  7433
                                  Springfield, OH
                                  Springfield, OH 45504
                                                   45501
                                  888-229-5429
                                  1-888-229-5429

If there is a shortage in my escrow account, what should I do?
     The shortage in your recent escrow analysis was automatically spread across upcoming payments,
     interest free. However, if you wish to discuss options that do not result in an increase in your
     payment , please contact us via the following options. Visit a local Branch, visit our Online
     Banking, or call our Customer Care team.

My payment is deducted from my checking account each month, if my payment changed do I
need to do anything to adjust the payment amount currently being deducted?
   If your payment is deducted from your checking account each month, the new payment
   amount will automatically be deducted from your account.


For future reference, please note the following methods available for you to contact us:


         Website / Online Loan Information                                        Voice Connect / Customer Service
    Account
     AccountAccess
             Access24 24
                      hours a day
                         hours    – 7 –days
                               a day        a week
                                        7 days a week                            Convenient •• Toll-Free
                                                                                 Convenient    Toll-Free •• Easy-To-Use
                                                                                                            Easy-To-Use
            pnc.com/mortgagecustomercare
            pnc.com/mortgagecustomercare                                                   1-877-822-5626
                                                                                           1-800-822-5626
Mailing Addresses:

              Customer Service Inquiries                                         Overnight / Express Mail Payments
                  PNC Bank, NA                                                              C/O PNC Bank
         Attn: Customer Service Research
                   B6-YM07-01-7                                                           Lockbox 771021
                  P.O. Box 1820                                                          350 East Devon Ave
              Dayton, OH 45401-1820                                                        Itasca, IL 60143
 PNC Bank, a division of PNC Bank, National Association

PNC Bank, National Association
                                                               REPRESENTATION OF PRINTED DOCUMENT
                 Case 21-11319-amc                             Doc        Filed 04/17/24 Entered 04/17/24
                                                               P.O. Box 1820                                 ESCROW   ACCOUNT
                                                                                                                 08:47:11 Desc Main
                                                               Dayton, OH 45401-1820
                                                                           Document            Page  5 of 8
                                                               Website: pnc.com/mortgagecustomercare      DISCLOSURE STATEMENT
                                                               Customer Care Center: 1-800-822-5626
                                                                                                                                  LOAN NUMBER:
                                                                                                                                         DATE:                     April 08, 2024

                                                                                                                                  PROPERTY ADDRESS:
                                                                                                                                     116 LINCOLN AVE
                                                                                                                                     YEADON, PA 19050

              STEPHANIE T FRYER
              116 LINCOLN AVE
              YEADON PA 19050-2933




  CURRENT MONTHLY MORTGAGE PAYMENT
   Principal & Interest                                                            764.46          Æ             Escrow
                                                                                                                              NEW PAYMENT INFORMATION
                                                                                                                 Principal & Interest                                                            764.46
                                                                                                                                                                                                 592.18
   Escrow                                                                          522.33
   Prorated Escrow Shortage
   Total Payment
                                                                                    13.16
                                                                                 1,299.95          Æ             Prorated Escrow Shortage
                                                                                                                 Total Payment
                                                                                                                                                                                                  93.13
                                                                                                                                                                                               1,449.77
                                                                                                                 New Payment Effective Date                                                    06/01/24
                                                                                                   Æ
                                                                           COMING YEAR ESCROW PROJECTION
 This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
 insurance premiums, and mortgage insurance.
 This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
 anticipated activity in your escrow account for the coming 12 months.

   ANTICIPATED ESCROW DISBURSEMENT                                          PAYMENTS                                                             PAYMENTS               CUR BAL             REQ BAL
                                                             MONTH         TO ESCROW                      DESCRIPTION                          FROM ESCROW            PROJECTION          PROJECTION
TAXES                                        $2,769.62
                                                                                                       BEGINNING BALANCE                                                  1,229.59            2,368.71
HAZARD INS                                   $2,088.00
                                                             June                592.18                                                                                     1,821.77            2,960.89
COUNTY TAX                                    $341.37
                                                             July                592.18                                                                                     2,413.95            3,553.07
CITY TAX                                     $1,907.16
                                                             August              592.18                 SCHOOL TAX                               2,769.62                     236.51            1,375.63
                                                             September           592.18                                                                                       828.69            1,967.81
                                                             October             592.18                                                                                     1,420.87            2,559.99
                                                             November            592.18                                                                                     2,013.05            3,152.17
TOTAL DISBURSEMENTS                          $7,106.15       December            592.18                                                                                     2,605.23            3,744.35
DIVIDED BY 12 MONTHS                                         January             592.18                                                                                     3,197.41            4,336.53
                                                             February            592.18                 HAZARD INS                               2,088.00                   1,701.59            2,840.71
MONTHLY ESCROW DEPOSIT                         $592.18       March               592.18                 COUNTY TAX                                 341.37                   1,952.40            3,091.52
                                                             March                                        CITY TAX                               1,907.16                      45.24 *          1,184.36 **
 CALCULATION OF ESCROW ADJUSTMENT                            April               592.18                                                                                       637.42            1,776.54
                                                             May                 592.18                                                                                     1,229.60            2,368.72
BEGINNING PROJECTED BALANCE                  $1,229.59       * The projected escrow balance at the low point.
BEGINNING REQUIRED BALANCE                   $2,368.71       ** The lowest balance the escrow account should attain during the projected period.



ESCROW SHORTAGE                              $1,117.60
                                                                                                             MORE INFORMATION ON REVERSE SIDE
The required minimum balance allowed by
federal law (RESPA) is two times your monthly
escrow payment (excluding MIP/PMI), unless
your mortgage document or state law specifies
a lower amount.




                                                                        IMPORTANT MESSAGES
The shortage in your recent escrow analysis was automatically spread across your upcoming payments, interest free. However, if you wish to discuss options that do not result
in an increase in your payment, please contact us via the following options: Visit a local Branch, visit our Online Banking, or call our Customer Care team.
Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
send cash by mail.




 We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
 prohibited by the Bankruptcy Code or other applicable Federal or state law.
                                                                                                                                                                                                              




                                                                                      INTERNET REPRINT




The shortage in your escrow analysis was automatically spread across your upcoming payments, interest free.
However, if you wish to discuss alternative ways to pay your shortage, please contact us via the following
options:

              Online Banking Payments:                                                                       We are here, if you have questions or need
              pnc.com/mortgagecustomercare                                                                   assistance, please contact our Customer Care
                                                                                                             Center at 1-800-822-5626.

                                                                                                             You can also visit your local PNC branch.
     Perf Page
           Case 21-11319-amcESCROW
                              Doc ACCOUNT
                                   Filed 04/17/24   EnteredSTATEMENT
                                             DISCLOSURE     04/17/24 08:47:11                                                    Desc Main
                                   Document       Page 6 of 8
LOAN NUMBER:                                                                                                                  DATE: April 8, 2024

Your projected escrow balance as of 05/31/24 is $1,229.59. Your required beginning escrow balance, according to this analysis, should be $2,368.71.
This means you have a shortage of $1,117.60. We have divided the shortage interest-free, over 12 months. If you choose to pay the shortage in full, then
your new monthly mortgage payment will be reduced to $1,356.64.
Once during this analysis period, your required escrow balance should be reduced to a target balance of $1,184.36, as it does in March. Under Federal law,
your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
state law specifies a lower amount.

Projected Activity from the Previous Analysis
This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
a surplus.
Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
low escrow balance.
  Date                 Description                                                 Payments                  Disbursements                     Balance
                       BEGINNING BALANCE                                                                                                      2,089.32
 06/23                                                                               522.33                                                   2,611.65
 07/23                                                                               522.33                                                   3,133.98
 08/23                 SCHOOL TAX                                                    522.33                        2,570.00                   1,086.31
 09/23                                                                               522.33                                                   1,608.64
 10/23                                                                               522.33                                                   2,130.97
 11/23                                                                               522.33                                                   2,653.30
 12/23                                                                               522.33                                                   3,175.63
 01/24                                                                               522.33                                                   3,697.96
 02/24                 HAZARD INS                                                    522.33                        1,690.00                   2,530.29
 03/24                 COUNTY TAX                                                    522.33                          325.12                   2,727.50
 03/24                 CITY TAX                                                                                    1,682.84                   1,044.66 **
 04/24                                                                               522.33                                                   1,566.99
 05/24                                                                               522.33                                                   2,089.32
TOTAL                                                                              6,267.96                        6,267.96

Account History
This is a statement of actual escrow account activity from March 2023 through May 2024. Compare it to the Projected Activity from the Previous Analysis
which appears above the Account History.
Your total mortgage payment during the past year was $1,299.95 of which $764.46 was your Principal and Interest payment and $522.33 was your escrow
payment.
     Date                  Description                                              Payments               Disbursements                    Balance
                           BEGINNING BALANCE                                                                                              -7,129.85
    03/23                                                                             420.79                                              -7,971.43
    05/23                                                                             841.58                                              -7,129.85
    06/23                                                                             841.58                                              -6,288.27
    07/23                                                                           1,262.37                                              -5,025.90
    08/23                  SCHOOL TAX                                                 535.49                     2,769.62 *               -7,260.03
    09/23                                                                             535.49                                              -6,724.54
    10/23                                                                           1,070.98                                              -5,653.56
    11/23                                                                             535.49                                              -5,118.07
    12/23                                                                             535.49                                              -4,582.58
    01/24                  HAZARD INS                                               1,070.98                     2,088.00 *               -5,599.60
    02/24                                                                             535.49                              *               -5,064.11
    02/24                  COUNTY TAX                                                                              341.37 *               -5,405.48
    03/24                                                                           1,070.98                              *               -4,334.50
    03/24                  CITY TAX                                                                              1,907.16 *               -6,241.66
    04/24                                                                           6,893.27 e                                               651.61
    05/24                                                                             577.98 e                                             1,229.59
 TOTAL                                                                             16,727.96                     7,106.15
* Indicates a difference from projected activity either in the amount or the date.
** Required minimum escrow balance.
"e" Indicates estimates for future payments or disbursements.
If you have any questions about this analysis statement, please visit us at pnc.com/mortgagecustomercare to send us an email, write to us at PNC Bank;
Attention: Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number
1-800-822-5626.
Case 21-11319-amc          Doc      Filed 04/17/24 Entered 04/17/24 08:47:11                Desc Main
                                    Document      Page 7 of 8


Disclosure on Cancellation of Mortgage Insurance Premium (MIP)

You may have the option to cancel annual MIP in advance of the projected amortization date by making additional
payments of Mortgage principal. To inquire about loan qualifications for early termination of MIP, send in a written
request to the address listed below, or contact Customer Service.

        Call Customer Service at 1-800-822-5626.

        Or

        Send a written request to the address below:
        PNC Bank
        P.O. Box 8736
        ATTN: Mortgage Insurance Department - B6-YM13-01-5
        Dayton, Ohio 45401-8736.
Case 21-11319-amc             Doc    Filed 04/17/24 Entered 04/17/24 08:47:11              Desc Main
                                     Document      Page 8 of 8



                                 UNITEDSTATESBANKRUPTCYCOURT
                               Eastern District of Pennsylvania (Philadelphia)


 INRE: Stephanie T. Fryer                            CaseNo. 21-11319
                                                       JudgeAshely M. Chan
                                                       Chapter13



                                     CERTIFICATEOFSERVICEOF
                                 NoticeofMortgagePaymentChange

  I,theundersigned,herebycertifythat,on 04/17/2024
                                                         ,atrueandcorrectcopyoftheNotice
ofMortgagePaymentChangewaselectronicallyserveduponthefollowingusingtheCourt’s
CM/ECFsystem:

Debtor’sAttorney:MICHAEL A. CIBIK
Trustee:KENNETH E. WEST
OfficeoftheUnitedStatesTrustee

  Further,Icertifythat,on 04/17/2024
                                         ,atrueandcorrectcopyoftheNoticeofMortgage
PaymentChangewasforwardedviaU.S.Mail,firstclasspostageprepaidandproperly
addressed,tothefollowingattheaddressshownbelow:

                                       116 Lincoln Avenue
Stephanie T. Fryer
                                       Yeadon, PA 19050




                                                                   By:/s/ Lucy Miller
                                                                    Lucy Miller
                                                                   PNCBank,N.A.
                                                                   3232NewmarkDrive
                                                                   Miamisburg,OH45342
                                                                   866Ͳ754Ͳ0659
